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1                                                                          CHIEF JUDGE ROBERT S. LASNIK
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8                                        UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF WASHINGTON
9                                                 AT SEATTLE
10   UNITED STATES OF AMERICA,                                             )
                                                                           )         CASE NO. CR 05-334 L
11                                   Plaintiff,                            )
                                                                           )
12                        v.                                               )         ORDER CONTINUING
                                                                           )         TRIAL DATE
13   RAJINDER SINGH JOHAL,                                                 )
     MANINDER SINGH KHATKAR, and                                           )
14   DINDYAL SINGH JASWAL,                                                 )
                                                                           )
15                                   Defendants.                           )
                                                                               )
16

17             Following a January 30, 2006, status conference, this Court GRANTS the parties'
18   unopposed requests to continue the trial date.
19             At the status conference, counsel for Defendants Rajinder Singh Johal, Maninder
20   Singh Khatkar, and Dindyal Sing Jaswal indicated their need for additional time in which
21   to prepare for trial. Their reasons in support of the request for more time included the
22   complexity of the case, the volume of discovery (including approximately 4000
23   conversations intercepted over a Title III wiretap), and potential novel questions of law or
24   fact, all of which make it unreasonable to expect adequate preparation for pretrial
25   proceedings or for the trial itself within otherwise-applicable time limits. Counsel
26   indicated that proceeding with the original trial dates would result in a miscarriage of
27   justice. All three defendants indicated they knowingly, voluntarily, and intelligently
28


     ORDER CONTINUING TRIAL — 1                                                                         UNITED STATES ATTORNEY
                                                                                                        700 STEWART STREET, SUITE 5220
     United States v. Rajinder Singh Johal, et al., Case No. CR 05-334 L
                                                                                                       SEATTLE, WASHINGTON 98101-1271
                                                                                                                (206) 553-7970
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1    waived their right to a speedy trial by executing written waivers of their rights to a speedy
2    trial through June 1, 2006.
3              In view of the parties' agreement to continue the trial date, for the reasons stated at
4    the status conference and above, each defendant's knowing, voluntary, and intelligent
5    waiver or anticipated waiver of his right to a speedy trial, and the interest of the public in
6    ensuring the accused adequate, effective, and continued representation by counsel
7    presently assigned, this Court finds that the ends of justice served by granting a
8    continuance outweigh the best interest of the public and defendants in a speedy trial.
9              The parties’ motion for continuance is GRANTED. Trial is reset for May 8, 2006,
10   at 9:00 a.m. The time from the filing of the stipulated motion through the new trial date
11   shall be excludable under the Speedy Trial Act, Title 18, United States Code, Sections
12   3161(h)(8)(A), 3161(h)(B)(i), and 3161(h)(B)(ii).
13             All pretrial motions shall be filed on or before February 24, 2006.
14             The government's exhibit and witness lists shall be filed on or before
15   April 24, 2006.
16             Defendants' exhibit and witness lists shall be filed on or before May 1, 2006.
17   \\
18   \\
19   \\
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     ORDER CONTINUING TRIAL — 2                                                                 UNITED STATES ATTORNEY
                                                                                                700 STEWART STREET, SUITE 5220
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                                                                                               SEATTLE, WASHINGTON 98101-1271
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1              The government shall provide to Defendants the transcripts that it intends to
2    introduce at trial on or before April 10, 2006. Defendant's objections and transcripts shall
3    be provided to the government on or before April 24, 2006. All parties shall confer and
4    attempt to agree on transcripts on or before May 1, 2006.
5
               Dated this 7th day of February, 2006.
6

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                                                                           A
                                                                           Robert S. Lasnik
9                                                                          United States District Judge
     Presented by:
10
     s/ John J. Lulejian
11
     JOHN J. LULEJIAN
12   Assistant United States Attorney
13   United States Attorney's Office
     700 Stewart Street, Suite 5220
14
     Seattle, Washington 98101-1271
15   Telephone: (206) 553-7970
     Facsimile: (206) 553-4440
16
     E-mail: John.Lulejian@usdoj.gov
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     ORDER CONTINUING TRIAL — 3                                                                            UNITED STATES ATTORNEY
                                                                                                           700 STEWART STREET, SUITE 5220
     United States v. Rajinder Singh Johal, et al., Case No. CR 05-334 L
                                                                                                          SEATTLE, WASHINGTON 98101-1271
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